Case 19-34054-sgj11 Doc 4206 Filed 02/13/25 Entered 03/04/25 13:02:57 Desc
Case 3:21-cv-01585-S Document
                       Main Document
                              36 Filed 02/13/25
                                        Page 1 of 2 Page 1 of 2 PageID 7941



                            United States District Court
                                 NORTHERN DISTRICT OF TEXAS
                                         DALLAS    DIVISION



 THE CHARITABLE DAF FUND, L.P.,                    §
 and CEO HOLDCO, LTD.                              §
                                                   §
 V .                                               §      C I V I L A C T I O N N O . 3 : 2 1 - C V- 1 5 8 5 - S

                                                   §
 H I G H L A N D C A P I TA L M A N A G E M E N T, §
 L . P.                                            §
                                                   §
                                                   §      BANKRUPTCY              CASE

 IN RE:                                            §      No. 19-34054-SGJll

                                                   §
 HIGHLAND CAPITAL MANAGEMENT, §                           Chapter No.: 11
 L . P.                                           §

                                              O R D E R


          This Order addresses Appellee Highland Capital Management, L.P.’s Motion to Dismiss

for Failure to Prosecute (“Motion”) [ECF No. 35]. The Court has reviewed the Motion and the

applicable law. For the following reasons, the Court GRANTS the Motion.

          On October 6, 2021, the Court abated and administratively closed this case pending the

resolution of arelated appeal, NexPoint Advisors, L.P., et al. v. Highland Capital Management,

L.P., No. 21-10449 (5th Cir. 2021). See ECF No. 21. That appeal was resolved; however, on

November 9, 2022, the Court continued the case’s abatement pending the resolution of asecond

related appeal. Charitable DAF Fund, L.P. v. Highland Capital Management, Z.P., No. 22-11036

(5th Cir. 2022). See ECF No. 34. The Court ordered Appellants The Charitable DAF Fund, L.P.,

and CEO Holdco, Ltd., to “ le their opening brief on or before 14 days after a nal mandate issues

or the appeal is otherwise resolved.” Id. at 1.

          On June 26, 2024, the second appeal was resolved. See Mot. 7. Appellants had 14 days

after that date to le their opening brief, but to date they have not done so. Accordingly, Appellee
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     Case 3:21-cv-01585-S Document
                            Main Document
                                   36 Filed 02/13/25
                                             Page 2 of 2 Page 2 of 2 PageID 7942



      led the Motion, seeking to dismiss this appeal for want of prosecution. Appellants have not

     responded to the Motion, and their deadline to do so has passed.

               Adistrict court has authority to dismiss acase for want of prosecution or for failure to

     comply with acourt order. Fed. R. Civ. P. 41(b); Larson v. Scott, 157 F.3d 1030, 1031 (5th Cir.

     1998). This authority “ ows from the court’s inherent power to control its docket and prevent

     undue delays in the disposition of pending cases.” Boudwin v. Graystone Ins., 756 F.2d 399, 401

     (5th Cir. 1985) (citing Link v. Wabash R.R. Co., 370 U.S. 626 (1962)). Additionally, Federal Rule

     of Bankruptcy Procedure 8018(a)(4) states that “[i]f an appellant fails to le abrief on time or

     within an extended time authorized by the district court. .., an appellee may move to dismiss the

     appeal.

               Appellants have failed to diligently prosecute this appeal. Appellants have taken no action

     since the resolution of the related appeals and have not responded to the Motion. And Appellee is

     within its right to request dismissal due to Appellants’ failure to le their opening brief by the

     deadline set by the Court. Under these circumstances, dismissal is warranted.

               For the foregoing reasons. Appellee’s Motion to Dismiss for Failure to Prosecute [ECF

     No. 35] is GRANTED, and this appeal is DISMISSED WITHOUT PREJUDICE.

               SO    ORDERED.


               SIGNED February 13, 2025.




                                                            KAREN         GREN    SCHOLER
                                                            UNITED        S TAT E S   DISTRICT   JUDGE




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